Case 5:08-cr-04060-LRR-JSS   Document 1172   Filed 11/25/15   Page 1 of 3
AO 245D       (Rev. 11/07 Judgment in a Criminal Case for Revocations
              Sheet 2— Imprisonment

                                                                                                      Judgment — Page   2       of   3
DEFENDANT:                     JANELLE BERTHA BROWN
CASE NUMBER:                   CR 08-4060-19-LRR



                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of :         11 months.




     Ƒ The court makes the following recommendations to the Bureau of Prisons:




     Ŷ The defendant is remanded to the custody of the United States Marshal.

     Ƒ The defendant shall surrender to the United States Marshal for this district:
          Ƒ     at                                  Ƒ a.m.         Ƒ p.m.       on                                          .

          Ƒ     as notified by the United States Marshal.

     Ƒ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          Ƒ     before 2:00 p.m. on                                         .

          Ƒ     as notified by the United States Marshal.

          Ƒ     as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

at                                                     with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL

              Case 5:08-cr-04060-LRR-JSS                           Document 1172           Filed 11/25/15         Page 2 of 3
AO 245D    (Rev. 11/07) Judgment in a Criminal Case for Revocations
           Sheet 3 — Supervised Release

                                                                                               Judgment—Page   3   of   3
DEFENDANT:                JANELLE BERTHA BROWN
CASE NUMBER:              CR 08-4060-19-LRR

                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :    No Term of Supervised
Release shall be reimposed.




           Case 5:08-cr-04060-LRR-JSS                           Document 1172   Filed 11/25/15           Page 3 of 3
